              Case 4:04-cr-40039-JPG                     Document 632 Filed 02/05/07                  Page 1 of 6          Page ID
'%A0 24SB     (Rev. 06/05) Judgment in a Criminal Case             #1473
              Sheet I




                        SOUTHERN                                 District of                                  ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                  MICHAEL R.McCAY
                                                                         Case Number:           4:04CR40039-003-JPG

                                                                         USM Number: 32658-0912
                                                                          William Shirley
                                                                         Defendant's Attorney
THE DEFENDANT:
@pleaded guilty to count(s)           1 of the 4th Superseding Indictment.
                                                                                                                     FILED
   pleaded nolo contendere to count(s)                                                                                FEB O 5 2007
   which was accepted by the court.                                                                          CLERK, U.S. DISTRICT COURT
                                                                                                                                    -... -



   was found guilty on count(s)                                                                             SOUTHERN DISTRICT OF lWNw
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                     Offense Ended                Count


                                    Distribute & Distribute 500 Grams or More of a Mixture



       The defendant is sentenced as provided in pages 2 through             10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unjted States attomey for this district within 30 da s of any change of name, resjdence,
                                                                                                             l
or mailing address until.al1fines, restitution,,costs,and speclal assessments Imposed by this judgment are fu ly pa~d.If ordered to pay restitution,
the defendant must noQfy the court and United States attorney of matenal changes m economc cucumstances.




                                                                          J. Phil Gilbert                             District Judge
                                                                                                                     Title of Judge
                 Case 4:04-cr-40039-JPG                  Document 632 Filed 02/05/07                     Page 2 of 6        Page ID
A 0 245B        (Rev. 06/05) Judgment in Criminal Case             #1474
                Sheet 2 - Imprisonment


DEFENDANT: MICHAEL R.McCAY
                                                                                                           Judgment -Page   -
                                                                                                                            2    of   10

CASE NUMBER: 4:04CR40039-003-JPG


                                                                 IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  324 months on Count 1 of the 4th Superseding Indictment.




     15( The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



         The defendant is remanded to the custody of the United States Marshal.

     [7 The defendant shall surrender to the United States Marshal for this district:

                  at                                      a.m.     (7 p.m.      on
                  as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on

           fl     as notified by the United States Marshal.
                  as notified by the Probation or Prebial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                              to

at                                                       , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
               Case 4:04-cr-40039-JPG                   Document 632 Filed 02/05/07                    Page 3 of 6         Page ID
A 0 245B      (Rev. 06105) Judgment in a Crim~nalCase
                                                                  #1475
              Sheet 3 - Su~ervisedRelease
                                                                                                           Judgment-Page      3     of          10
DEFENDANT: MICHAEL R-McCAY
CASE NUMBER: 4:04CR40039-003-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 5 years on the 4th Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suirnit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as d e t e m e d by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of tha judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthhl and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adpjnister any
      controlled substance or any paraphernal~arelated to any controlled substances, except as prescribed by a physlclan;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the progation officer;
  10)      the defendant shall pepnit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plaln view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation oficer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personay history or character~st~es and shall pemut the proba~onofficer to make such notificahons and to c o n f i the
           defendant s compliance with such notification requirement.
A 0 245B   Case     4:04-cr-40039-JPG
           (Rev. 06/05) Judgment in a Criminal Case   Document 632 Filed 02/05/07        Page 4 of 6       Page ID
           Sheet 3C - ~u&nriseclReleaw                          #1476

DEFENDANT: MICHAEL R.McCAY
CASE NUMBER: 4:04CR40039-003-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.
A 0 2458                                                Case
                                                       (Rev.     4:04-cr-40039-JPG
                                                             06/05) Judgment in a Criminal Case                                                                                     Document 632 Filed 02/05/07                                                                                                                                            Page 5 of 6                                                               Page ID
                                                       Sheet 5 - Criminal Monetary Penalties                                                                                                  #1477

    DEFENDANT: MICHAEL R.McCAY
                                                                                                                                                                                                                                                                                                                                                           Judgment - Page
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    CASE NUMBER: 4:04CR40039-003-JPG
                                                                                                                                                          CRIMINAL MONETARY PENALTIES
                          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                              Assessment                                                                                                                                                                                                                                                                         Restitution
    TOTALS                                                                       $ 100.00                                                                                                                                                                                                                                                                            $ 0.00



                          The determination of restitution is deferred until                                                                                                                                              . An Amended Judgment in a Criminal Case(A0 245C) will be entered
                          after such determination.

                          The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                          If the defendant makes a partial payment, each pa ee shall receive an approximately ro rtioned ayment, unless specified otherwise @
                          the pnorlty order or percentage payment colurnn%elow. However, pursuant to 18 Qs.??     $ 366481, all nonfederal v l c t m must be pad
                          before the United States is paid.

    Name of Pavee                                                                                                                                                                                                                     *-                                                                                  Restitution Ordered Priority or Percentape

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    TOTALS                                                                                                                           $                                                                  0.00                                             $                                                                                             0.00


                                  Restitution amount ordered pursuant to plea agreement $

    I7 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
                                  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
                                  to penalties for delinquency and default, pursuant to 18 U.S.C. 3612(g).

    @ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                  @f the interest requirement is waived for the                                                                                                             @ fine       restitution.
                                                   the interest requirement for the                                                                                                    fine  0 restitution is modified as follows:


    * Findings for the total amount of losses are re uiredunder Chapters 109A, 110,l IOA, and 1 13A of Title 18 for offenses cornrnitted on or after
    September 13, 1994, but before April 23, 199%.
A 0 2456
             Case
           (Rev. 06/05)4:04-cr-40039-JPG
                        Judzment in a Criminal Case   Document 632 Filed 02/05/07                   Page 6 of 6          Page ID
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                                                                                                       Judgment - Page      6     of           10
DEFENDANT: MICHAEL R.McCAY
CASE NUMBER: 4:04CR40039-003-JPG

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defend an?^ ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

                 not later than                                 , Or
                 in accordance               C,        D,         E, or         F below; or
 B         Payment to begin immediately (may be combined with              C,          D, or       F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from unprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g.,30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




                              r
 imprisonment. All cnmioa rnoneta penalties, except fhose payments made
 Responsibility Program, are made to x e clerk of the court.
                                                                                     hug
 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment a ent of criminal monetary penalties is due durin
                                                                                         t E ~ e d e r a Bureau
                                                                                                         l      of Prisons' Inmate         ina an cia?
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 I7 The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shaIl be applied in ,the follow~ngorder: (1 assessment, (2) restituhon principal, (3) restitution interest, (4) fine principal,
                                                       1
(5) f i e mterest, (6) community restituhon, (7) pena hes, and (8) costs, including cost of prosecution and court costs.
